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District of Columbia live database                                      https://dcd-ecf.sso.dcn/cgi-bin/DktRpt.pl?143965820449771-L_1_0-1
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                                                U.S. District Court
                                     District of Columbia (Washington, DC)
                              CRIMINAL DOCKET FOR CASE #: 1:24-mj-00201-ZMF-1


          Case title: USA v. NOHLE                                            Date Filed: 06/17/2024


          Assigned to: Magistrate Judge Zia M.
          Faruqui

          Defendant (1)
          RACHEL NOHLE

          Pending Counts                                Disposition
          None

          Highest Offense Level (Opening)
          None

          Terminated Counts                             Disposition
          None

          Highest Offense Level (Terminated)
          None

          Complaints                                    Disposition
          COMPLAINT in Violation of 18:1752(a)
          (1), 18:1752(a)(2), 40:5104(e)(2)(D) and
          40:5104(e)(2)(G)



          Plaintiff
          USA                                                represented by Craig Estes
                                                                            USAO
                                                                            John Joseph Moakley Federal Courthouse
                                                                            1 Courthouse Way
                                                                            Boston, MA 02210
                                                                            (617) 748-3100
                                                                            Email: craig.estes@usdoj.gov
                                                                            LEAD ATTORNEY
                                                                            ATTORNEY TO BE NOTICED


1 of 2                                                                                                               6/20/2024, 12:30 PM
District of Columbia live database                                       https://dcd-ecf.sso.dcn/cgi-bin/DktRpt.pl?143965820449771-L_1_0-1
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                                                                                Designation: Assistant U.S. Attorney


          Date Filed          # Docket Text
          06/17/2024          1 SEALED COMPLAINT as to RACHEL NOHLE (1). (Attachments: # 1 Redacted
                                Statement of Facts) (zljn) (Entered: 06/18/2024)
          06/17/2024          3 MOTION to Seal Case by USA as to RACHEL NOHLE. (Attachments: # 1 Text of
                                Proposed Order)(zljn) (Entered: 06/18/2024)
          06/17/2024          4 ORDER granting 3 Motion to Seal Case as to RACHEL NOHLE (1). Signed by
                                Magistrate Judge Zia M. Faruqui on 06/17/2024. (zljn) (Entered: 06/18/2024)
          06/18/2024                 Arrest of RACHEL NOHLE in New York. (zljn) (Entered: 06/18/2024)
          06/18/2024          5 Arrest Warrant, dated 06/17/2024, Returned Executed on 06/18/2024 as to RACHEL
                                NOHLE. (zljn) (Entered: 06/18/2024)
          06/18/2024                 Case unsealed as to RACHEL NOHLE (zljn) (Entered: 06/18/2024)




2 of 2                                                                                                                6/20/2024, 12:30 PM
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